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                 4                                   UNITED STATES DISTRICT COURT
                 5                                           DISTRICT OF NEVADA
                 6                                                       ***
                 7       UNITED STATES OF AMERICA,                               Case No. 2:11-CR-48 JCM (CWH)
                 8                                               Plaintiff(s),                       ORDER
                 9               v.
               10        JESUS GUADALUPE FELIX BURGOS, et al.,
               11                                             Defendant(s).
               12
               13               Presently before the court is United States v. Burgos, case no. 2:11-cr-00048-JCM-CWH.
               14       Petitioner Jesus Guadalupe Felix Burgos (“petitioner”) filed a motion to vacate, set aside, or
               15       correct sentence pursuant to 28 U.S.C. § 2255 based upon the application of Johnson v. United
               16       States, 135 S. Ct. 2551 (2015), to his sentence. (ECF No. 417).
               17               Briefing shall proceed as follows: respondent has thirty (30) days from the date of this
               18       order to file a response. Thereafter, petitioner has thirty (30) days to file a reply.
               19               Accordingly,
               20               IT IS HEREBY ORDERED that respondent shall file a response to petitioner’s motion to
               21       vacate, set aside, or correct sentence pursuant to 28 U.S.C. § 2255 (ECF No. 417) no later than
               22       thirty (30) days from the date of this order. Petitioner shall file a reply within thirty (30) days
               23       thereafter.
               24               DATED February 21, 2017.
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               26                                                       UNITED STATES DISTRICT JUDGE

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James C. Mahan
U.S. District Judge
